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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

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In re:                                                          : Chapter 11
                                                                :
The Weinstein Company Holdings LLC, et al.,1                    : Case No. 18-10601 (MFW)
                                                                :
                  Debtors.                                      : (Jointly Administered)
                                                                :
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                          NOTICE OF AGENDA OF MATTERS SCHEDULED
                         FOR HEARING ON JULY 15, 2019 AT 10:00 A.M. (ET)2

I.       UNCONTESTED MATTERS GOING FORWARD:

         1.        Motion of the Debtors and Spyglass Media Group, LLC (f/k/a Lantern
                   Entertainment LLC) Pursuant to Bankruptcy Rule 9019 for an Order Approving
                   Settlement Agreement By and Among the Debtors, Spyglass Media Group, LLC
                   (f/k/a Lantern Entertainment LLC), and Viacom International Inc. Regarding
                   Assumption and Assignment of Certain Viacom Agreements [Docket No. 2463 –
                   filed July 8, 2019]

                   Objection / Response Deadline:                 Objections due at the hearing.

                   Objections / Responses Received:               None at this time.

                   Related Documents:

                   i.       [FILED UNDER SEAL] Consent to Assumption and Assignment [Docket
                            No. 2464 – filed July 8, 2019]

                   ii.      Order Shortening Notice and Objection Periods in Connection with (I) the
                            Motion of the Debtors and Spyglass Media Group, LLC (f/k/a Lantern
                            Entertainment LLC) Pursuant to Bankruptcy Rule 9019 for an Order
                            Approving Settlement Agreement By and Among the Debtors, Spyglass


1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York 10013.
Due to the large number of Debtors in these cases, which are being jointly administered for procedural purposes only, a
complete list of the Debtors and the last four digits of their federal tax identification numbers are not provided herein. A
complete list of this information may be obtained on the website of the Debtors’ noticing and claims agent at
http://dm.epiq11.com/twc.
2
 The hearing will be held before The Honorable Mary F. Walrath at the United States Bankruptcy Court for the District of
Delaware, 824 North Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801. Any person who wishes to
appear telephonically at the July 15, 2019 hearing must contact COURTCALL, LLC at 866-582-6878 prior to 12:00
noon (ET) on Friday, July 12, 2019 to register his/her telephonic appearance in accordance with the Instructions for
Telephonic Appearances Effective January 5, 2005, Revised May 11, 2018.



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                          Media Group, LLC (f/k/a Lantern Entertainment LLC), and Viacom
                          International Inc. Regarding Assumption and Assignment of Certain
                          Viacom Agreements and (II) the Motion to Seal [Docket No. 2478 –
                          entered July 10, 2019]

                   iii.   Notice of Motions and Hearing [Docket No. 2482 – filed July 10, 2019]

                   Status: The hearing on this matter will go forward.

         2.        Motion of Spyglass Media Group, LLC (f/k/a Lantern Entertainment LLC) to
                   Redact Portions of (I) the Settlement Agreement By and Among the Debtors,
                   Spyglass Media Group, LLC (f/k/a Lantern Entertainment LLC), and Viacom
                   International Inc. Regarding Assumption and Assignment of the Viacom
                   Agreements; and (II) the 9019 Motion [Docket No. 2465 – filed July 8, 2019]

                   Objection / Response Deadline:       Objections due at the hearing.

                   Objections / Responses Received:     None at this time.

                   Related Documents:

                   i.     Order Shortening Notice and Objection Periods in Connection with (I) the
                          Motion of the Debtors and Spyglass Media Group, LLC (f/k/a Lantern
                          Entertainment LLC) Pursuant to Bankruptcy Rule 9019 for an Order
                          Approving Settlement Agreement By and Among the Debtors, Spyglass
                          Media Group, LLC (f/k/a Lantern Entertainment LLC), and Viacom
                          International Inc. Regarding Assumption and Assignment of Certain
                          Viacom Agreements and (II) the Motion to Seal [Docket No. 2478 –
                          entered July 10, 2019]

                   ii.    Notice of Motions and Hearing [Docket No. 2482 – filed July 10, 2019]

                   Status: The hearing on this matter will go forward.

         3.        Joint Motion of the Debtors and the Official Committee of Unsecured Creditors
                   Pursuant to Fed. R. Bankr. P. 9019 for Approval of a Settlement Agreement
                   Among the Debtors, the Official Committee of Unsecured Creditors, AI
                   International (BVI) Limited, and the Union Bank Parties [Docket No. 2468 – filed
                   July 8, 2019]

                   Objection / Response Deadline:       July 14, 2019 at 4:00 p.m. (ET)

                   Objections / Responses Received:     None at this time.

                   Related Documents:

                   i.     Order Granting Joint Motion of the Debtors and the Official Committee of
                          Unsecured Creditors to Shorten Notice with Respect to the Joint Motion of


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                          the Debtors and the Official Committee of Unsecured Creditors Pursuant
                          to Fed. R. Bankr. P. 9019 for Approval of a Settlement Agreement Among
                          the Debtors, the Official Committee of Unsecured Creditors, AI
                          International (BVI) Limited, and the Union Bank Parties [Docket No.
                          2477 – entered July 10, 2019]

                   ii.    Notice of Hearing on Joint Motion of the Debtors and the Official
                          Committee of Unsecured Creditors Pursuant to Fed. R. Bankr. P. 9019 for
                          Approval of a Settlement Agreement Among the Debtors, the Official
                          Committee of Unsecured Creditors, AI International (BVI) Limited, and
                          the Union Bank Parties [Docket No. 2479 – filed July 10, 2019]

                   Status: The hearing on this matter will go forward.

II.      CONTESTED MATTERS GOING FORWARD:

         4.        Debtors’ Application Pursuant to 11 U.S.C. §§ 327(e) and 328(a) to Retain and
                   Employ Bernstein Litowitz Berger & Grossmann, LLP as Special Litigation
                   Counsel to the Debtors Nunc Pro Tunc to May 1, 2019 [Docket No. 2337 – filed
                   May 1, 2019]

                   Objection / Response Deadline:       May 15, 2019 at 4:00 p.m. (ET); extended
                                                        by agreement to May 20, 2019 at 4:00 p.m.
                                                        (ET) for the Office of the United States
                                                        Trustee (the “UST”)

                   Objections / Responses Received:

                   A.     Informal comments from the UST

                   B.     Objection of the New York State Attorney General and Tort Claimants to,
                          and Request to Adjourn for 30 Days, Debtors’ Application Pursuant to 11
                          U.S.C. §§ 327(e) and 328(a) to Retain and Employ Bernstein Litowitz
                          Berger & Grossmann, LLP as Special Litigation Counsel to the Debtors
                          Nunc Pro Tunc to May 1, 2019 [Docket No. 2362 – filed May 15, 2019]

                   C.     Limited Objection of the Official Committee of Unsecured Creditors to
                          Debtors’ Application Pursuant to 11 U.S.C. §§ 327(e) and 328(a) to Retain
                          and Employ Bernstein Litowitz Berger & Grossmann, LLP as Special
                          Litigation Counsel to the Debtors Nunc Pro Tunc to May 1, 2019 [Docket
                          No. 2363 – filed May 15, 2019]

                   Related Documents:

                   i.     Reply to Objections to Debtors' Application Pursuant to 11 U.S.C. §§
                          327(e) and 328(a) to Retain and Employ Bernstein Litowitz Berger &
                          Grossmann, LLP as Special Litigation Counsel to the Debtors Nunc Pro
                          Tunc to May 1, 2019 [Docket No. 2371 – filed May 20, 2019]

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                   ii.    Order Granting the Emergency Motion of the Official Committee of
                          Unsecured Creditors to Adjourn Hearing on Debtors’ Application
                          Pursuant to 11 U.S.C. §§ 327(e) and 328(a) to Retain and Employ
                          Bernstein Litowitz Berger & Grossmann, LLP as Special Litigation
                          Counsel to the Debtors Nunc Pro Tunc to May 1, 2019 [Docket No. 2382
                          – entered May 23, 2019]

                   iii.   Notice of Special Purpose Hearing [Docket No. 2394 – filed May 31,
                          2019]

                   iv.    Notice of Special Purpose Hearing [Docket No. 2428 – filed June 24,
                          2019]

                   v.     Notice of Special Purpose Hearing [Docket No. 2451 – filed July 1, 2019]

                   Status: The hearing on this matter will go forward.

         5.        Debtors’ Motion for an Order (I) Converting Their Chapter 11 Cases to Cases
                   Under Chapter 7 of the Bankruptcy Code and (II) Granting Related Relief
                   [Docket No. 2357 – filed May 14, 2019]

                   Objection / Response Deadline:       May 28, 2019 at 4:00 p.m. (ET); extended
                                                        by agreement to June 24, 2019 at 12:00
                                                        noon (ET) for the Official Committee of
                                                        Unsecured Creditors

                   Objections / Responses Received:

                   A.     Objection of High Technology Video, Inc. [Docket No. 2388 – filed May
                          28, 2019]

                   B.     Response of Michael Harold Jensen [Docket No. 2389 – filed May 28,
                          2019]

                   C.     Statement and Reservation of Rights of MUFG Union Bank, N.A. and
                          UnionBanCal Equities, Inc. Regarding Debtors’ Motion for an Order (I)
                          Converting Their Chapter 11 Cases to Cases Under Chapter 7 of the
                          Bankruptcy Code and (II) Granting Related Relief [Docket No. 2390 –
                          filed May 28, 2019]

                   Related Documents:

                   i.     Notice of Motion and Hearing [Docket No. 2365 – filed May 16, 2019]

                   ii.    Notice of Special Purpose Hearing [Docket No. 2394 – filed May 31,
                          2019]




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                   iii.   Notice of Special Purpose Hearing [Docket No. 2428 – filed June 24,
                          2019]

                   iv.    Notice of Special Purpose Hearing [Docket No. 2451 – filed July 1, 2019]

                   Status: The hearing on this matter will go forward.

Dated: July 11, 2019
       Wilmington, Delaware
                                         /s/ David T. Queroli
                                         RICHARDS, LAYTON & FINGER, P.A.
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                                         - and -

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